         1:14-cv-01343-CSB # 142       Page 1 of 5
                                                                                    E-FILED
                                                     Thursday, 09 February, 2017 08:49:34 AM
                                                                Clerk, U.S. District Court, ILCD


                    Verdict Form Part 1-Excessive Force

    1. On Plaintiffs claim of excessive force against DEFENDANT
       JEFFREY STAHL, we, the jury, find in favor of:

                               o    Plaintiff Frederick Walker

                              ')(   Defendant Jeffrey Stahl



   2. On Plaintiffs claim of excessive force against DEFENDANT
      GLENDAL FRENCH, we, the jury, find in favor of:

                               o    Plaintiff Frederick Walker

                                    Defendant Glendal French




Court's verdict fonn part 1
         1:14-cv-01343-CSB # 142      Page 2 of 5




                 Verdict Form Part 2-Failure to Intervene




    1. On Plaintiffs claim of failure to intervene against
       DEFENDANT TIMOTHY PRICE, we, the jury, find in favor of:

                              o    Plaintiff Frederick Walker

                              )<   Defendant Timothy Price



   2. On Plaintiffs claim of failure to intervene against
      DEFENDANT JEFFREY STAHL, we, the jury, find in favor of:

                              o    Plaintiff Frederick Walker

                                   Defendant Jeffrey Stahl



   3. On Plaintiffs claim of failure to intervene against
      DEFENDANT GLENDAL FRENCH, we, the jury, find in favor
      of:

                              o    Plaintiff Frederick Walker

                                   Defendant Glendal French




Court's verdict Jann part 2
        1:14-cv-01343-CSB # 142        Page 3 of 5




   Verdict Form Part 3-Failure to Provide Medical Attention




   1. On Plaintiffs claim of failure to provide medical attention
      against DEFENDANT TIMOTHY PRICE, we, the jury, find in
      favor of:

                            o       Plaintiff Frederick Walker

                            ~       Defendant Timothy Price



   2. On Plaintiffs claim of failure to provide medical attention
      against DEFENDANT JEFFREY STAHL, we, the jury, find in
      favor of:

                             o      Plaintiff Frederick Walker

                            ..ts(   Defendant Jeffrey Stahl



   3. On Plaintiffs claim of failure to provide medical attention
      against DEFENDANT GLENDAL FRENCH, we, the jury, find
      in favor of:

                             o      Plaintiff Frederick Walker

                            )(      Defendant Glendal French
Court's verdictformpart 3
        1:14-cv-01343-CSB # 142   Page 4 of 5




                        Verdict Form Part 4-Damages

       If you found against one or more Defendants on any claim, list
the total amount of compensatory damages you award and the
punitive damages you award, if any, against a particular Defendant.
If you found infavor of all Defend ants on all claims, skip this part
and sign and date the verdict form.


   1. We fix Plaintiffs total compensatory damages in the amount
      of $                     . (If you found against one or more
       Defend ants but found that Plaintifffailed to prove compensatory
       damages, then write $1. 00 for damages.)


   2. Having found against a particular Defendant, we fix Plaintiffs
      punitive damages, if any, against that Defendant, as follows:


                      Defendant Timothy Price: $ _ _ _ __

                      Defendant Jeffrey Stahl: $_ _ _ __

                      Defendant Glendal French: $- - - - -


Court's verdictfonn part 4
                    1:14-cv-01343-CSB # 142   Page 5 of 5




                         Verdict Form Part 5-Signatures and Date

         We, the jury, having reached a unanimous agreement on all
      claims, affix our signatures below.

      Date:         W./o&ltJ
s/Foreperson                                          s/Juror




s/Juror                                               s/Juror




    s/Juror
                                                     s/Juror




     s/Juror                                           s/Juror




                                                      s/Juror
          s/Juror




      Court's verdictfonn part 5
